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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 2:16-CV-14162-ROSENBERG/MAYNARD

 JAMES P. CROCKER,

      Plaintiff,

 v.

 DEPUTY SHERIFF STEVEN ERC BEATTY, et
 al.,

    Defendants.
  _____________________________________/

                       FINAL JUDGMENT IN FAVOR OF DEFENDANT

          Pursuant to Federal Rule of Civil Procedure 56 and 58, and in accordance with the reasons

 stated in the Court’s Order Granting in Part and Denying in Part Defendant Beatty’s Motion for

 Summary Judgment and Granting Defendant Snyder’s Motion for Summary Judgment, DE 176,

 and the Court’s Order Denying Plaintiff’s Motion for Reconsideration, DE 296, it is therefore

          ORDERED AND ADJUDGED that final judgment is entered in favor of Defendant,

 SHERIFF WILLIAM SNYDER against Plaintiff JAMES P. CROCKER.

          DONE AND ORDERED in Chambers in West Palm Beach, Florida, this 18th day of

 January, 2019.


                                                              ROBIN L. ROSENBERG
                                                              UNITEDSTATES DISTRICT JUDGE



  Copies furnished to Counsel of Record
